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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                 *
 UNITED STATES OF AMERICA                        *
                                                 *
               v.                                *   CRIM. NO.: DKC-04-235
                                                 *
 PAULETTE MARTIN, ET AL.,                        *
                                                 *
       Defendant.                                *
                                                 *

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                                              LINE

Madam Clerk:

       Please strike the appearance of Ellen E. Nazmy as counsel for the government for all

purposes in the above-captioned case.

                                              Respectfully submitted,

                                              Erek L. Barron
                                              United States Attorney


                                        By:      /s/
                                              Ellen E. Nazmy
                                              Assistant United States Attorney
